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 9                                    UNITED STATES DISTRICT COURT

10                                  NORTHERN DISTRICT OF CALIFORNIA

11                                            OAKLAND DIVISION

12   US RIGHT TO KNOW,                                )   No. 4:20-cv-09117-DMR
                                                      )
13           Plaintiff,                               )   STIPULATION TO CONTINUE INITIAL CASE
                                                      )   MANAGEMENT CONFERENCE;
14      v.                                            )   [PROPOSED] ORDER
                                                      )
15   UNITED STATES DEPARTMENT OF                      )
     EDUCATION,                                       )
16                                                    )
             Defendant.                               )
17                                                    )

18           Plaintiff US Right to Know (“Plaintiff”) and defendant United States Department of Education
19 (“Defendant” or “Education Department”), by and through their undersigned counsel, hereby

20 STIPULATE and respectfully REQUEST that the Court continue the parties’ initial case management

21 conference (“CMC”) set for October 5, 2022 at 1:30 p.m., ECF No. 29, until January 4, 2023 at 1:30

22 p.m. This stipulation is based on the following facts:

23           1.       This action, filed on December 17, 2020 under the Freedom of Information Act
24 (“FOIA”), concerns one FOIA request that Plaintiff directed to the Education Department, dated July 6,

25 2020. ECF No. 1 ¶ 35; ECF No. 11 ¶ 35. The request seeks certain records that the University of Texas

26 System (“UT”) submitted to the Education Department pursuant to the Education Department’s request.

27 ECF No. 1 ¶ 36 & Ex. B. As the parties previously reported to the Court, since the filing of the lawsuit,

28 the Education Department has answered the complaint, the parties have met and conferred regarding the

     STIPULATION AND [PROPOSED] ORDER
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 1 FOIA request and the collection and processing of records, including by telephone and email, Defendant

 2 completed the process of locating potentially responsive records, and the parties stipulated to a schedule

 3 for processing these records and working in good faith to resolve all issues in this case, ECF No. 20,

 4 which this Court entered as an order of the Court on April 15, 2021 (“Order”). ECF No. 21.

 5          2.       Since that time, the Education Department has timely made monthly productions of

 6 records in accordance with the Order. These productions are ongoing. Accordingly, the parties stipulate

 7 and respectfully request that the Court continue the parties’ initial CMC by approximately three (3)

 8 months, from October 5, 2022 until January 4, 2023, so that the parties can continue this process, as set

 9 forth in the Order.

10          SO STIPULATED.
                                                 Respectfully submitted,
11
                                                 STEPHANIE M. HINDS
12                                               United States Attorney

13 Dated: September 27, 2022              By:    /s/ Savith Iyengar
                                                 SAVITH IYENGAR
14                                               Assistant United States Attorney
                                                 Attorney for Defendant
15

16                                               THE LAW OFFICES OF CHARLES M. TEBBUTT, P.C.

17 Dated: September 27, 2022              By:    **/s/ Daniel C. Snyder
                                                 DANIEL C. SNYDER
18                                               Attorney for Plaintiff

19
                                                 SHUTE, MIHALY & WEINBERGER LLP
20
     Dated: September 27, 2022            By:    **/s/ Laura D. Beaton
21                                               LAURA D. BEATON
                                                 Attorney for Plaintiff
22
                                                 ** Pursuant to Civ. L.R. 5-1(h)(3), the filer of the document
23                                                  has obtained approval from this signatory.
24

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28

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 1                                          [PROPOSED] ORDER

 2          IT IS HEREBY ORDERED that the Case Management Conference currently set for October 5,

 3 2022 at 1:30 p.m. is continued until January 4, 2023 at 1:30 p.m. The parties shall submit a joint case

 4 management conference statement by December 28, 2022.

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 7 Dated: _____________________, 2022
                                                 DONNA M. RYU
 8                                               United States Magistrate Judge

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     STIPULATION AND [PROPOSED] ORDER
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